   Case 1:19-bk-10118            Doc 41   Filed 03/28/19 Entered 03/28/19 14:38:52      Desc Main
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                                  UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF OHIO
                                           AT CINCINNATI

IN RE:                                              Case No. 19-10118

ANDREW MICHAEL PARKER                               Chapter 7
LYDIA MARY PARKER
                                                    Chief Judge Jeffery Hopkins
                    Debtor(s).

                                                   NOTICE OF PROPOSED ABANDONMENT
                                                   OF WELLS FARGO BANK, N.A.
                                                   (PROPERTY LOCATED AT
                                                   3834 DELMAR AVENUE
                                                   CINCINNATI, OH 45211)



        Please be advised that Wells Fargo Bank, N.A. has requested the Trustee to abandon certain real
estate as described below:

Property Address:                 3834 Delmar Avenue, Cincinnati, OH 45211

Debt Owed Creditor:               $89,883.92 plus interest at 5.500%

Additional Liens:                 None

Fair Market Value:                $72,810.00
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       You are notified that unless a written objection is filed with the Court and served on the undersigned
within twenty-one (21) days stating a colorable basis for said objection, the Trustee may abandon the
described real estate.


                                      /s/Mia L. Conner
                                      Mia L. Conner, Case Attorney
                                      Ohio Supreme Court Reg. No. 0078162
                                      Attorney(s) for Wells Fargo Bank, N.A.
                                      LERNER, SAMPSON & ROTHFUSS
                                      P.O. Box 5480
                                      Cincinnati, OH 45201-5480
                                      (513) 241-3100
                                      (513) 241-4094 Fax
                                      (877) 661-7891 Toll Free Fax
                                      sohbk@lsrlaw.com


DATED AND MAILED: March 28, 2019
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                                 UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF OHIO
                                          AT CINCINNATI

IN RE:                                            Case No. 19-10118

Andrew Michael Parker                             Chapter 7
Lydia Mary Parker
                                                  Judge Jeffery P. Hopkins
                   Debtor(s).
                                                  CERTIFICATE OF SERVICE OF NOTICE
                                                  OF PROPOSED ABANDONMENT OF
                                                  PROPERTY LOCATED AT
                                                  3834 DELMAR AVENUE
                                                  CINCINNATI, OH 45211



         The undersigned certifies that a copy of the attached Notice of Proposed Abandonment was served

this date on the party whose name and address is listed below as and for NOTICE that the attached Notice

of Proposed Abandonment of Property is being filed with the Court. The undersigned will present to the

Court a Trustee's Abandonment of Property abandoning the real estate unless, within twenty-one (21) days

after this date, a written memorandum in opposition along with a request for a hearing is filed with the

Court and served on the undersigned.

DATED: March 28, 2019


                                           /s/Mia L. Conner
                                         Mia L. Conner, Case Attorney
                                         Ohio Supreme Court Reg. No. 0078162
                                         Attorney(s) for Wells Fargo Bank, N.A.
                                         LERNER, SAMPSON & ROTHFUSS
                                         P.O. Box 5480
                                         Cincinnati, OH 45201-5480
                                         (513) 241-3100
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                                                    OF SERVICE

        I hereby certify that a copy of the foregoing Notice of Proposed Abandonment Of Property and
Certificate of Service of the Notice of Proposed Abandonment of Property of the secured creditor, Wells
Fargo Bank, N.A. was served electronically on the date of filing through the Court’s ECF System on all
ECF participants registered in this case at the e-mail address registered with the court and by Ordinary
U.S. Mail on March 28, 2019 addressed to:

Andrew Michael Parker
5804 Rapid Run
Cincinnati, OH 45233

Lydia Mary Parker
5804 Rapid Run
Cincinnati, OH 45233

TIAA, FSB
c/o Adam B. Hall, Esq.
Manley Deas Kochalski LLC
P.O. Box 165028
Columbus, OH 43216-5028

General Electric Credit Union
c/o Thomas A. Wietholter
600 Vine Street, Suite 2500
Cincinnati, OH 45202

Synchrony Bank
c/o PRA Receivables Management, LLC
PO Box 41021
Norfolk, VA 23541



                                       /s/Mia L. Conner
                                     Mia L. Conner, Case Attorney
                                     Ohio Supreme Court Reg. No. 0078162
